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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Senator RICHARD BLUMENTHAL, et
 al.,

                         Plaintiffs,
                                                      No. 1:18-cv-02664
                 v.

 MATTHEW G. WHITAKER, in his
 official capacity, et al.,

                         Defendants.



                DEFENDANTS’ MOTION FOR A STAY OF PROCEEDINGS
                     IN LIGHT OF LAPSE OF APPROPRIATIONS


       Defendants Donald J. Trump, in his official capacity as the President of the United States,

and Matthew G. Whitaker, in his official capacity as Acting Attorney General, hereby move for a

stay of proceedings, including their deadline to answer or otherwise respond to the Complaint, in

the above-captioned case. In support of this motion, Defendants state as follows:

       1.       Plaintiffs are three Senators who brought this suit alleging that the President’s

appointment of Mr. Whitaker as Acting Attorney General violates the Appointments Clause of

the Constitution, U.S. Const. art. II, § 2, cl. 2. The U.S. Attorney for the District of Columbia

was served on November 26, 2018, and Defendants’ answer or other response to the Complaint

is currently due on January 25, 2018. See Fed. R. Civ. P. 12(a)(2).

       2.       At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired and appropriations to the Department lapsed. The

Department does not know when funding will be restored by Congress.


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          3.       Absent an appropriation, Department of Justice attorneys are prohibited from

working, even on a voluntary basis, except in very limited circumstances, including

“emergencies involving the safety of human life or the protection of property.” 31 U.S.C.

§ 1342.

          4.       Undersigned counsel for the Department of Justice therefore requests a stay of

proceedings in this case, including the deadline of January 25, 2019 to respond to the Complaint,

until Congress has restored appropriations to the Department.

          5.       If this motion for a stay is granted, undersigned counsel will notify the Court as

soon as Congress has appropriated funds for the Department. Defendants request that, at that

point, all current deadlines for the parties be extended commensurate with the duration of the

lapse in appropriations.

          6.       Undersigned counsel has conferred with counsel for Plaintiffs, and counsel for

Plaintiffs indicate that Plaintiffs oppose this motion.

          Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, Defendants hereby move for a stay of proceedings in this case, including the deadline to

answer or otherwise respond to the Complaint, until Department of Justice attorneys are

permitted to resume their usual civil litigation functions.


Dated: January 11, 2019                               Respectfully submitted,

                                                         JOSEPH H. HUNT
                                                         Assistant Attorney General

                                                         BRETT A. SHUMATE
                                                         Deputy Assistant Attorney General

                                                         JENNIFER D. RICKETTS
                                                         Director, Federal Programs Branch



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                                  CHRISTOPHER R. HALL
                                  Assistant Branch Director

                                  /s/ Jean Lin
                                  JEAN LIN
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 11, 2019, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.
                                                    /s/ Jean Lin
                                                    JEAN LIN
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 Senator RICHARD BLUMENTHAL, et
 al.,

                      Plaintiffs,
                                                 No. 1:18-cv-02664
               v.

 MATTHEW G. WHITAKER, in his
 official capacity, et al.,

                      Defendant.



                                    [PROPOSED] ORDER

       Upon consideration of Defendants’ Motion for A Stay of Proceedings in Light of Lapse

of Appropriations, and for good cause shown, it is hereby ORDERED that

       The Motion for A Stay of Proceedings is GRANTED; and it is further ORDERED that

       This case is STAYED.

       SO ORDERED.



       DATED:                                            _____________________________
                                                         HON. RANDOLPH D. MOSS
                                                         United States District Judge
